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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION


RANDALL CLOUGH,

                      Plaintiff,

v.                                                         Case No: 6:18-cv-2069-Orl-41GJK

MCCLURE CONSTRUCTION CO,
LLC.,

                      Defendant.
                                             /

                                             ORDER

       THIS CAUSE is before the Court on Plaintiff’s Second Motion for Default Final Judgment

and for Attorney’s Fees and Costs (Doc. 14). United States Magistrate Judge Gregory J. Kelly

submitted a Report and Recommendation (Doc. 15), in which he recommends that the Court grant

Plaintiff’s Motion.

       After a de novo review of the record, and noting that no objections were timely filed, the

Court agrees with the analysis set forth in the Report and Recommendation. Therefore, it is

ORDERED and ADJUDGED as follows:

           1. Plaintiff’s Second Motion for Default Final Judgment and for Attorney’s Fees and

               Costs (Doc. 14) is GRANTED.

           2. The Report and Recommendation (Doc. 15) is ADOPTED and CONFIRMED and

               made a part of this Order.




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           3. The Clerk is directed to enter a final Default Judgment in favor of Plaintiff and

              against Defendant for $4,404.50. 1 Then, the Clerk is directed to close this case.

       DONE and ORDERED in Orlando, Florida on April 10, 2019.




Copies furnished to:

Counsel of Record




       1
         This number is the sum total of $508.00 in Fair Labor Standards Act damages, $1,110.00
in breach of contract damages, $2,321.50 in attorney’s fees, and $465.00 in costs



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